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                           EXHIBIT 7
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        The Supreme Court of South Carolina
            The State, Respondent,

            v.

            Richard Bernard Moore, Appellant.

            Appellate Case No. 2001-021895



                                     ORDER


On November 6, 2020, the Clerk of this Court issued an execution notice setting
the execution of Appellant for Friday, December 4, 2020. Because Appellant
waived his right to elect the method of his execution, section 24-3-530 of the South
Carolina Code (2007) provides the penalty must be administered by lethal
injection. The Court has now been advised the South Carolina Department of
Corrections does not have, and will not be able to obtain, the drugs required for
execution by lethal injection by December 4, 2020. Accordingly, we stay the
execution until the South Carolina Department of Corrections advises the Court it
has the ability to perform the execution as required by the law.


                                                                                  C.J.

                                                                                    J.

                                                                                    J.

                                                                                    J.

                                                                                    J.

Columbia, South Carolina
November 30, 2020
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cc:    Lindsey Sterling Vann, Esquire
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